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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


 Tyler P. Wiss and Melody M. McKenna,                    Case No. 22-cv-2047 (PJS/LIB)

                       Plaintiffs,
          vs                                   [PROPOSED] ORDER EXTENDING
                                               THE TIME FOR DEFENDANT
 Proctor Independent School District 704,      DEREK B. PARENDO TO ANSWER,
 Derek B. Parendo, John Doe Assistant          MOVE, OR OTHERWISE RESPOND
 Coaches #1-5 and John E. Engelking,           TO PLAINTIFFS’ AMENDED
                                               COMPLAINT
                       Defendant.



         This matter comes before the Court on the Parties’ Stipulation to Extend the Time

for Defendant Derek B. Parendo to Answer, Move, or Otherwise Respond to Plaintiffs’

Amended Complaint. Pursuant to Fed. R. Civ. P. 6(b), and for good cause shown, this

stipulation is approved and Defendant Derek B. Parendo’s deadline to answer, move, or

otherwise respond to Plaintiffs’ Amended Complaint, [Dkt. No. 5], is hereby extended to

October 28, 2022.

                                          BY THE COURT:


Dated:
                                          Leo I. Brisbois
                                          United States Magistrate Judge
